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                                                                                     FILED
                                                                         United States Court of Appeals
                           UNITED STATES COURT OF APPEALS                        Tenth Circuit

                                 FOR THE TENTH CIRCUIT                         August 31, 2020
                             _________________________________
                                                                            Christopher M. Wolpert
                                                                                Clerk of Court
  In re: BYRON PATTERSON
  MCDANIEL, JR.; LAURA PAIGE
  MCDANIEL,

         Debtors.

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  BYRON PATTERSON MCDANIEL, JR.;
  LAURA PAIGE MCDANIEL,

         Plaintiffs - Appellees,
                                                               No. 18-1445
  v.                                             (1:09-BK-37480-KHT & 1:17-BK-01274-
                                                                   KHT)
  NAVIENT SOLUTIONS, LLC,                         (United States Bankruptcy Court for the
                                                           District of Colorado)
         Defendant - Appellant.
                        _________________________________

                                        JUDGMENT
                             _________________________________

 Before BRISCOE, HOLMES, and EID, Circuit Judges.
                   _________________________________

        This case originated in the United States Bankruptcy Court for the District of

 Colorado and was argued by counsel.

        The judgment of that court is affirmed and remanded. The case is remanded to the

 United States Bankruptcy Court for the District of Colorado for further proceedings in
Case:17-01274-KHT Doc#:51-1 Filed:08/31/20 Entered:08/31/20 15:37:27 Page2 of 2
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 accordance with the opinion of this court.


                                              Entered for the Court



                                              CHRISTOPHER M. WOLPERT, Clerk




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